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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  HARRISON DIVISION



DAWN GUTERMAN                                                                          PLAINTIFF

                               NO. 3:17-cv-3051-TLB

PROFESSIONAL CREDIT MANAGEMENT, INC.                                                DEFENDANT


                               CLERK'S ORDER OF DISMISSAL


   On this 26th day of January, 2018, the parties hereto having

filed a stipulation for dismissal pursuant to Rule 41 (a), Federal Rules of Civil Procedure,

   IT IS ORDERED that plaintiff's complaint be, and hereby is dismissed with prejudice.


                              AT THE DIRECTION OF THE COURT

                               DOUGLAS F. YOUNG, CLERK


                               BY:
                                     Deputy Clerk
